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                                                                  DOCUMENT
                                                                  ELECTRONICALLY FILED
                                                                  DOC #:
UNITED STATES DISTRICT COURT                                      DATE FILED: 11/09/2020
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------- X
 JOSH FEIERSTEIN, individually and on behalf of :
 all others similarly situated                                  :
                                              Plaintiff,        :
                                                                :
                            -against-                           :   19-CV-11361 (VEC)
                                                                :
 CORREVIO PHARMA CORP., MARK H.N.                               :        ORDER
 CORRIGAN, WILLIAM HUNTER, JUSTIN A. :
 RENZ,                                                          :
                                                                :
                                              Defendants. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

       WHEREAS on September 3, 2020, Lead Plaintiffs filed an unopposed motion for the

preliminary approval of a settlement and approval of dissemination of notice to the settlement

class, Dkt. 53; and

       WHEREAS the Court will conduct the fairness hearing on Friday, May 14, 2021, at

2:30 P.M. and the parties will be expected to appear in person, but the notice to objectors should

inform objectors that they may participate in the hearing by conference call, using the call in

number 1-888-363-4749, access code 3121171, and security code 1361;

       IT IS ORDERED that the parties must submit a revised version of the Notice of (I)

Pendency of Class Action and Proposed Settlement; (II) Settlement Fairness Hearing; and (III)

Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses, Exhibit A-

1, Dkt. 55-1 at 51–71, that includes the following revisions:

       1. Add a space between the ; and (II) in the document caption;

       2. Add the word “or” between who and which in line 3 of paragraph 20 on page 7;

       3. Change “that statement” to “their statements” in line 6 of paragraph 21 on page 7;
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       4. Change “it was not made” to “they were not made” in line 7 of paragraph 21 on page

           7;

       5. Redraft paragraph 24 on page 8 to be more balanced. The paragraph currently

           describes what would happen if Plaintiffs could not prove their case. The paragraph

           must also address what would happen if no settlement agreement was reached but

           Plaintiffs could prove their case.

       6. Delete the errant double underscore in line 8 of paragraph 31 on page 9;

       7. Change the end of the last sentence of paragraph 59 on page 16 from “to be

           recommended by Lead Counsel.” to “to be recommended by Lead Counsel and

           approved by the Court.”;

       8. Change “Settlement Class Members do not need to attend” to “Settlement Class

           Members may but do not need to attend” in line 1 of paragraph 67 on page 18;

       9. Add the call in information for the fairness hearing listed above to paragraph 68 on

           page 18.

       IT IS FURTHER ORDERED that the parties must submit a revised version of the Proof

of Claim and Release, Exhibit A-2, Dkt. 55-1 at 72–85, that correctly spells the word “Southern”

on page 9 under Section I.

       IT IS FURTHER ORDERED that the parties must submit a revised version of the

Summary Notice of (I) Pendency of Class Action and Proposed Settlement; (II) Settlement

Fairness Hearing; and (III) Motion for an Award of Attorneys’ Fees and Reimbursement of

Litigation Expenses, Exhibit A-3, Dkt. 55-1 at 86–88, that includes the date, time, and call in

information for the Fairness Hearing on the bottom of page 1.




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       IT IS FURTHER ORDERED that the parties must submit a revised Proposed Order

Preliminarily Approving Settlement and Providing for Notice, Dkt. 53-1, that includes the

following revisions:

       1. Inserts the date and time of the fairness hearing in paragraph 5 on page 3;

       2. Inserts the call in information as listed above in paragraph 5 on page 3;

       3. Changes all of the durations of time listed throughout the proposed order to actual

            dates based on a fairness hearing date of May 14, 2021 and a preliminary approval

            order date of Friday, November 20, 2020.

       IT IS FURTHER ORDERED that by no later than Monday, November 16, 2020, the

parties must submit the revised settlement documents that implement the revisions outlined in

this Order. In addition to clean versions of these documents, the parties must also submit

redlined versions of the Notice of (I) Pendency of Class Action and Proposed Settlement; (II)

Settlement Fairness Hearing; and (III) Motion for an Award of Attorneys’ Fees and

Reimbursement of Litigation Expenses, Exhibit A-1, Dkt. 55-1 and of the Proposed Order

Preliminarily Approving Settlement and Providing for Notice, Dkt. 53-1. The Parties should also

email Chambers the revised Proposed Order in Microsoft Word format.

       IT IS FURTHER ORDERED that Defendants’ Motion to Dismiss, Dkt. 48, is dismissed

as moot.

       The Clerk of Court is respectfully directed to terminate the open motion at docket entry

48.

SO ORDERED.
                                                     _________________________________
Date: November 9, 2020                                     VALERIE CAPRONI
      New York, New York                                 United States District Judge




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